[Cite as State v. Jones, 2020-Ohio-9.]




                              IN THE COURT OF APPEALS OF OHIO
                                 SECOND APPELLATE DISTRICT
                                       CLARK COUNTY

 STATE OF OHIO                                   :
                                                 :
          Plaintiff-Appellee                     :   Appellate Case No. 2019-CA-31
                                                 :
 v.                                              :   Trial Court Case No. 2016-CR-571
                                                 :
 TIMOTHY JONES                                   :   (Criminal Appeal from
                                                 :   Common Pleas Court)
          Defendant-Appellant                    :
                                                 :

                                           ...........

                                           OPINION

                             Rendered on the 3rd day of January, 2020.

                                           ...........

JOHN M. LINTZ, Atty. Reg. No. 0097715, Assistant Prosecuting Attorney, Clark County
Prosecutor’s Office, 50 East Columbia Street, Suite 449, Springfield, Ohio 45502
      Attorney for Plaintiff-Appellee

BRYAN SCOTT HICKS, Atty. Reg. No. 0065022, P.O. Box 359, Lebanon, Ohio 45036
    Attorney for Defendant-Appellant

                                           .............




WELBAUM, P.J.
                                                                                         -2-


       {¶ 1} Defendant-Appellant, Timothy Jones, appeals from his conviction for carrying

a concealed weapon in violation of R.C. 2923.12(A), the revocation of his community

control sanctions, and his sentence. On August 30, 2019, Jones’ appellate counsel filed

a brief under the authority of Anders v. California, 386 U.S. 738, 87 S.Ct.1396, 18 L.Ed.2d

493 (1967), indicating there are no issues with arguable merit to present on appeal.

Jones’ appellate counsel raised two potential assignments of error for review.

       {¶ 2} On September 12, 2019, we notified Jones that his appellate counsel found

no meritorious claim for review and granted him 60 days to file a pro se brief assigning

any errors. Jones, however, did not file a pro se brief.

       {¶ 3} After conducting an independent review of the entire record as required by

Anders, including the presentence investigation report, we find no issues of arguable

merit for Jones to advance on appeal. Accordingly, the judgment of the trial court will be

affirmed.



                     Pertinent Facts and Course of Proceedings

       {¶ 4} On November 21, 2016, the Clark County Grand Jury indicted Jones on two

offenses: having weapons under disability (R.C. 2923.13(A)(3)), a felony of the third

degree, and carrying a concealed weapon (R.C.2923.12(A)), a felony of the fourth

degree. On May 3, 2017, Jones entered a plea of guilty to the carrying a concealed

weapon charge. In exchange, the State dismissed the more serious charge of having

weapons under disability.

       {¶ 5} At Jones’ plea hearing, the trial court fully complied with the requirements of

Crim.R. 11(C)(2) for accepting pleas. Sentencing was held on May 24, 2017, and Jones
                                                                                        -3-


was placed on community control sanctions for a period of five years. The trial court

advised Jones that if he violated the terms of his community control he could be

sentenced to a prison term of 18 months. The special conditions of his community

control included that Jones would serve 180 days of local incarceration and that he would

be required to obey federal, state, and local laws. Dkt. No. 13, p. 3-4.

       {¶ 6} On December 21, 2017, the trial court found that Jones had violated the

terms of his community control by failing to report to the jail as ordered. The trial court

added 60 days to Jones’ jail sentence as a sanction and once again notified Jones that a

violation would result in a prison sentence of 18 months. That violation and sanction was

appealed and affirmed by this court on October 12, 2018. State v. Timothy L. Jones, 2d

Dist. Clark No. 2018-CA-10, 2018-Ohio-4143.

       {¶ 7} On July 13, 2018, Jones was convicted after a jury trial of possession of a

deadly weapon while in detention (R.C. 2923.313(B)), a fifth-degree felony, in Clark C.P.

No. 2010-CR-45. Five days later, the trial court sentenced Jones to a prison term of 12

months. That conviction was appealed and affirmed by this court on April 26, 2019.

State v. Timothy Jones, 2d Dist. Clark No. 2018-CA-94, 2019-Ohio-1548. The conviction

was the result of conduct committed while Jones was under community control sanctions

in this case.

       {¶ 8} After the necessary preliminary proceedings, on April 1, 2019, a hearing was

held to determine whether Jones’ community control sanctions should be revoked.

Since Jones admitted to violating the terms of his community control, the trial court found

that Jones violated its terms and conducted a sentencing hearing pursuant to R.C.

2929.19. The trial court then sentenced Jones to a prison term of 18 months with 183
                                                                                         -4-


days of jail-time credit, and ordered the sentence to be served consecutively to the 12-

month sentence previously imposed in Case No. 2010-CR-45. Thereafter, Jones filed a

timely notice of appeal. Dkt. No. 39, p. 2.



                              Discussion and Conclusion

       {¶ 9} In an Anders review, we are required to decide “after a full examination of all

the proceedings,” whether an appeal is “wholly frivolous.” Anders, 386 U.S. at 744, 87

S.Ct. 1396, 18 L.Ed.2d 493. See also Penson v. Ohio, 488 U.S. 75, 84-85, 109 S.Ct.

346, 102 L.Ed.2d 300 (1988). Issues are not frivolous simply because the State “can be

expected to present a strong argument in reply.” State v. Pullen, 2d Dist. Montgomery

No. 19232, 2002-Ohio-6788, ¶ 4. Instead, an issue will lack arguable merit “if on the

facts and law involved, no responsible contention can be made that it offers a basis for

reversal.” Id.
       {¶ 10} After conducting an independent review of the record pursuant to Anders,

we agree with Jones’ appellate counsel that, based on the facts and relevant law, there

are no issues with arguable merit to present on appeal.          Jones’ appellate counsel

suggested that two potential non-frivolous issues may be: (1) whether the trial court erred

by making the sentence consecutive instead of concurrent; and (2) that Jones allegedly

did not understand his sentence.

       {¶ 11} At sentencing, the trial court considered that Jones had committed a felony

while on community control and that during the new felony, he possessed a shank while

in jail. The trial court also considered the fact that Jones had a lengthy criminal history

since 1996. Jones’ criminal history included convictions for several offenses of violence
                                                                                        -5-


including assault, negligent assault, domestic violence, and aggravated assault. The

trial court also noted that Jones had been convicted of criminal damaging, escape, and

possession of drugs. The trial court further expressed concern that Jones’ community

control sentences had been previously revoked. Probation Violation Hearing Trans.

(Apr. 1, 2019), p. 14.

       {¶ 12} The trial court made all of the necessary findings supporting the imposition

of consecutive sentencing at the hearing and in the corresponding sentencing entry. Id.

at p. 15; Dkt. No. 39, p. 2. Although appellate counsel surmised that Jones did not fully

understand his sentence, there was clearly no error in that regard. The trial court clearly

stated the sentence on the record at the sentencing hearing and in its sentencing entry.

       {¶ 13} For the foregoing reasons, we find that the potential issues raised by

appellate counsel have no arguable merit. After conducting an independent review of

the record as required by Anders, we also find no issues with arguable merit for Jones to

advance on appeal. Accordingly, the judgment of the trial court is affirmed.

                                     .............

FROELICH, J. and HALL, J., concur.




Copies sent to:

John M. Lintz
Bryan Scott Hicks
Timothy Jones
Hon. Richard J. O’Neill
